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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,                         §
                                                §
              Plaintiffs,                       §
                                                §
        v.                                      §   Case No. 1:18-CV-68
                                                §
UNITED STATES OF AMERICA, et al.,               §
                                                §
              Defendants,                       §
                                                §
and                                             §
                                                §
KARLA PEREZ, et al.,                            §
                                                §
              Defendant-Intervenors,            §
and                                             §
                                                §
STATE OF NEW JERSEY                             §
                                                §
              Defendant-Intervenor.


             ORDER GRANTING PEREZ DEFENDANT-INTERVENORS’
               UNOPPOSED MOTION TO WITHDRAW EXHIBIT 76

        On this date, the Court considered Perez Defendant-Intervenors’ Unopposed Motion to

Withdraw Exhibit 76.        After considering the motion, the Court GRANTS the motion and

ORDERS the Clerk’s Office to withdraw Defendant-Intervenors’ Exhibit 76, filed under Dkt.

225-3 at 183-204, from the record in the above-captioned case.


        SIGNED on this the ____ day of August, 2018.


                                                    Hon. Andrew S. Hanen,
                                                    U.S. District Court Judge
